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14

15                          UNITED STATES DISTRICT COURT
16                         CENTRAL DISTRICT OF CALIFORNIA
17                    EASTERN DIVISION AT RIVERSIDE DIVISION
18   LUCAS ALEX AMBREZEWICZ,                    Case No. 5:16-cv-02331-JGB-KK
     individually and on behalf of all others
19                                              DEFENDANT LEADPOINT, INC.’S
     similarly situated,
20                                              NOTICE OF MOTION AND MOTION
                                Plaintiff,      TO STAY PENDING RULING BY
21                                              THE D.C. CIRCUIT; MEMORANDUM
           vs.                                  OF POINTS AND AUTHORITIES
22

23   LEADPOINT, INC., a Delaware                Date: April 24, 2017
     corporation,                               Time: 9:00 AM
24
                                                Place: Courtroom 1
                                Defendant.
25                                              Hon. Jesus G. Bernal
26                                              Complaint Filed: Nov. 9, 2016
                                                Trial Date: March 20, 2018
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28

                 DEFENDANT LEADPOINT, INC.’S NOTICE AND MOTION TO STAY
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 1   TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
 2         PLEASE TAKE NOTICE that on April 24, 2017 at 9:00 a.m. in Courtroom 1
 3   of the above-entitled Court of the United States District Court for the Central District
 4   of California, located at 3470 Twelfth Street, Riverside, California 92501, Defendant
 5   LeadPoint, Inc. (“LeadPoint”) will and hereby does move for a stay of proceedings in
 6   this action pending a ruling by the United States Court of Appeals, District of
 7   Columbia Circuit regarding the definition of an “automatic telephone dialing system”
 8   under the Telephone Consumer Protection Act, 47 U.S.C. § 227 et seq.
 9         This motion is made on the grounds that a trial court has broad discretion to
10   stay all proceedings pending the resolution of independent proceedings elsewhere.
11   See Landis v. N. Am. Co., 299 U.S. 248, 254 (1936). The decision by the United
12   States Court of Appeals, District of Columbia Circuit will directly affect the outcome
13   of this action, will not prejudice Plaintiff, and will promote efficiency. Moreover,
14   LeadPoint would suffer harm if a stay were not granted.
15         This Motion is based on this Notice of Motion and Motion, the Memorandum
16   of Points and Authorities filed concurrently herewith, the operative complaint and
17   pleadings on file with the Court in this matter, the concurrently filed Request for
18   Judicial Notice, and any other evidence or oral argument as the Court may consider in
19   connection with this Motion.
20         This Motion is made following the conference of counsel pursuant to L.R. 7-3,
21   which took place on February 24, 2017.
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 1   DATED: March 24, 2017        Respectfully submitted,
 2                                MINTZ LEVIN COHN FERRIS GLOVSKY
                                  AND POPEO P.C.
 3

 4                                /s/ Esteban Morales
                                  By: Joshua Briones
 5                                      Esteban Morales
 6                                      Claire C. Newland
                                        Attorneys for Defendant LEADPOINT, INC.
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 1   I.    INTRODUCTION
 2         Directly at issue in this case is whether the telephone equipment used to
 3   allegedly call Plaintiff constitutes an automatic telephone dialing system (“ATDS”)
 4   as defined by the TCPA. Defendant LeadPoint, Inc. (“LeadPoint”) moves to stay this
 5   action pending the outcome of an appellate court ruling that could dispose of half of
 6   Plaintiff Lucas Alex Ambrezewicz’s (“Plaintiff”) case and classes that he is
 7   attempting to certify. The appellate case is ACA International v. Federal
 8   Communications Commission, Case No. 15-1211 in the United States Court of
 9   Appeals, District of Columbia. The issue is the proper definition of the term
10   “automatic telephone dialing system.” A stay is appropriate in this case so that the
11   parties and this Court can receive clarity on the definition of an ATDS before further
12   time and expense are incurred. Further litigation as to Plaintiff’s claim premised on
13   the use of an automatic telephone dialing system “may be unnecessary and will
14   require both parties and the Court to spend substantial resources.” Small v. GE
15   Capital, Inc., No. EDCV 15-2479 JGB (DTBx), 2016 U.S. Dist. LEXIS 118959, at
16   *7 (C.D. Cal. June 9, 2016). For these reasons, and as discussed below, LeadPoint
17   respectfully requests that this Court stay this case pending resolution of the ACA
18   International appeal.
19   II.   PROCEDURAL AND FACTUAL BACKGROUND
20         A.     The Allegations at Issue in this Action
21         Plaintiff’s Complaint alleges that LeadPoint violated the TCPA by placing calls
22   to Plaintiff’s cellular telephone using an “ATDS,” or “automatic telephone dialing
23   system,” without Plaintiff’s consent. Compl. ¶¶ 13, 46, ECF No. 1. Plaintiff seeks to
24   recover statutory damages “up to $500” per call. Id. at ¶ 59. A critical issue in this
25   litigation is whether LeadPoint used an ATDS as defined by the TCPA and
26   interpreted by the Federal Communications Commission (“FCC”).
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 1          B.    The ACA International Appeal
 2          The FCC’s interpretation of an ATDS in its July 10, 2015 Declaratory Ruling
 3   has been challenged on appeal before the D.C. Circuit in ACA International v.
 4   Federal Communications Commission, Case No. 15-1211. See Request for Judicial
 5   Notice (“RJN”), Ex. B (Joint Brief for Petitioners); Ex. C (ACA International’s
 6   Amended Petition for Review). The basis of the appeal is that the definition of an
 7   ATDS, as interpreted by the FCC, is overbroad, vague, and confusing. RJN, Ex. B at
 8   pp.14-16. Specifically, ACA International seeks a holding that the FCC’s treatment of
 9   the term “capacity,” within the definition of ATDS under the TCPA, is unlawful.
10   RJN, Ex. C. at p. 4. ACA International also seeks a holding that the FCC’s treatment
11   of “predictive dialers” and “prior express consent” is unlawful. Id. at pp. 4-5.
12          Briefing and oral argument were completed on October 19, 2016, and the D.C.
13   Circuit is expected to issue its ruling shortly. See RJN, Ex. D (Courtroom Minutes of
14   Oral Argument). The most recent submissions in this appeal are Federal Rule of
15   Appellate Procedure 28(j) letters, which were filed by both parties in January 2017.
16   See RJN, Ex. A (General Docket). Once the D.C. Circuit rules on what qualifies as an
17   ATDS, either Plaintiff’s TCPA claim will be extinguished, or the ruling will dictate
18   the scope of the issues and discovery needed in this case. Accordingly, pursuant to
19   the Court’s inherent authority to control its own docket, LeadPoint respectfully urges
20   the Court to stay this case.
21   III.   ARGUMENT
22          A trial court has broad discretion to stay all proceedings in an action pending
23   the resolution of independent proceedings in other jurisdictions. See Landis v. N. Am.
24   Co., 299 U.S. 248, 254 (1936). This discretion is “incident to [a district court’s]
25   power to control its own docket.” Clinton v. Jones, 520 U.S. 681, 706-07 (1997); see
26   also Air Line Pilots Ass’n v. Miller, 523 U.S. 866, 879 n.6 (1998) (“The power to stay
27   proceedings is incidental to the power inherent in every court to control the
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 1   disposition of the causes on its docket with economy of time and effort for itself, for
 2   counsel, and for litigants.”) (internal quotation marks omitted). A stay is appropriate
 3   in a case where the outcome of another action may substantially affect it, which is
 4   precisely the circumstance here. See Stone v. Sterling Infosystems, Inc., No. 2:15-CV-
 5   00711-MCE-DAD, 2015 WL 4602968, at *2 (E.D. Cal. July 29, 2015).
 6         A.     Other Federal Courts, Including this Court, Have Granted Stays
 7                Under These Circumstances
 8         In the past two years, at least ten federal courts, including this Court, have
 9   granted stays in light of the pending ACA International appeal:
10       Small v. GE Capital, Inc., No. EDCV 15-2479 JGB (DTBx), 2016 U.S. Dist.
11         LEXIS 118959, at *7 (C.D. Cal. June 9, 2016) (J. Bernal) (granting motion to
12         stay in in part because of the pending ACA International decision);
13       Adams v. Nationstar Mortg. LLC, No. 15-9912-DMG (KSx), 2016 U.S. Dist.
14         LEXIS 152964, at *5 (C.D. Cal. June 14, 2016 (same);
15       Errington v. Time Warner Cable Inc., No. 2:15-CV-02196 RSWL (DTB), 2016
16         U.S. Dist. LEXIS 66317, at *8-9 (C.D. Cal. May 18, 2016) (same);
17       Shahin v. Synchrony Fin., No. 8:15-cv-2941-T-35EAJ, 2016 U.S. Dist. LEXIS
18         119260, at *4 (M.D. Fla. April 12, 2016) (same);
19       Chattanond v. Discover Fin. Servs., LLC, No. CV-08549, 2016 U.S. Dist.
20         LEXIS 24700, at *8-10 (C.D. Cal. Feb. 26, 2016) (same);
21       Abplanalp v. United Collection Bureau, Inc., No. 3:15-CV-203-RJC-DCK,
22         2016 LEXIS 1762, at *8 (W.D.N.C. Jan. 7, 2016) (same);
23       Acton v. Intellectual Capital Mgmt., No. 15-CV-4004(JS)(ARL), 2015 U.S.
24         Dist. LEXIS 172149, at *7-8 (E.D.N.Y. Dec. 28, 2015) (same);
25       Fontes v. Time Warner Cable, Inc., No. CV14-2060-CAS (CWx), 2015 U.S.
26         Dist. LEXIS 169580, at *16 (C.D. Cal. Dec. 17, 2015) (same);
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 1       Mackiewicz v. Nationstar Mortgage, LLC, No.6:15-CV-465-Orl-18GJK, 2015
 2         U.S. Dist. LEXIS 180770, at *2-3 (M.D. Fla. Nov. 10, 2015) (same); and
 3       Gensel v. Performant Techs., Inc., No. 13-C-1196, 2015 U.S. Dist. 142303, at
 4         *6 (E.D. Wis. Oct. 21, 2015) (same).
 5         Recent rulings from the Central District of California granting stays in similar
 6   cases are persuasive and confirm that a stay is appropriate here. In Small, this Court
 7   found that a stay was appropriate because “the ruling in ACA International will likely
 8   bear on whether [Defendant’s] dialer at time of the calls at issue was an ‘automatic
 9   telephone dialing system’ for purposes of the TCPA.” 2016 U.S. Dist. LEXIS
10   118959, at *7. Similarly, in Chattanond, the court explained that a stay pending
11   resolution of the ACA International appeal was appropriate because “the D.C. Circuit
12   will address . . . what type of equipment constitutes an ATDS” and “will determine
13   whether the FCC’s treatment of the term ‘capacity’ within the definition of an ATDS
14   is ‘arbitrary, capricious, and an abuse of discretion . . . .’” See Chattanond, 2016 U.S.
15   Dist. LEXIS 24700, at *8-10. “If the case is not stayed, Defendant will suffer
16   hardship in conducting discovery and trial preparation in light of the uncertain
17   difference between ‘potential’ capacity and ‘theoretical’ capacity under the definition
18   of an ATDS.” Id. at *10.
19         In Fontes, the Central District of California granted a stay based on the ACA
20   International appeal. The court found that a stay was appropriate because if the D.C.
21   Circuit determines that the FCC reached the “wrong conclusion” in its declaratory
22   ruling, this could “potentially be dispositive of the outcome in this case.” Fontes,
23   2015 U.S. Dist. LEXIS 169580, at *13. Likewise, in Errington v. Time Warner
24   Cable, Inc. the court granted a stay pending the D.C. Circuit appeal and explained
25   that “granting a stay may simplify the issues in this case and conserve judicial
26   resources. . . Accordingly, the Court and both parties will benefit from a clarification
27   of the applicable law.” Errington v. Time Warner Cable Inc., No. 15-cv-02196
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 1   RSWL (DTB), 2016 U.S. Dist. LEXIS 66317, at *10-11 (C.D. Cal. May 18, 2016).
 2   The same issues that warranted a stay in Small, Chattanond, Fontes, and Errington
 3   are at issue and warrant a stay here as well.
 4             B.    The Relevant Factors All Weigh in Favor of Granting a Stay Here
 5             In determining whether a stay is appropriate, the courts within the Ninth
 6   Circuit examine the following three factors: (1) the possible damage which may result
 7   from the granting of a stay; (2) the hardship or inequity which a party may suffer in
 8   being required to go forward with the case; and (3) the orderly course of justice
 9   measured in terms of the simplifying or complicating issues, proof, and questions of
10   law, which could be expected to result from a stay. Lockyer v. Mirant Corp., 398 F.3d
11   1098, 1110 (9th Cir. 2005) (citing Landis, 229 U.S. at 254); CMAX, Inc. v. Hall, 300
12   F.2d 265, 268 (9th Cir. 1962). Here, each of these factors weighs in favor of granting
13   a stay.
14                   1.     Plaintiff Will Not be Prejudiced by a Stay
15             The stage of the ACA International appellate proceedings is more advanced
16   than when this Court considered this issue in June of 2016. See Small, 2016 U.S.
17   Capital, Inc., 2016 U.S. Dist. LEXIS 118959, at *8 (finding an “absence of any
18   prejudice to Plaintiff”). Since this time, oral argument was completed on October 19,
19   2016. See RJN, Ex. D (Courtroom Minutes of Oral Argument). The parties,
20   moreover, submitted Federal Rule of Appellate Procedure 28(j) letters in January
21   2017. Id., Ex. A (General Docket). A decision is imminent and it is likely one will be
22   issued by the end of the year if not sooner.
23             Additionally, this action is in its infancy and neither party has expended truly
24   significant time or effort in the prosecution and defense of this action. A stay would
25   not disrupt proceedings at this stage, but rather would serve as a brief and efficient
26   undertaking in light of the dispositive issues to be decided by the D.C. Circuit.
27   Plaintiff cannot credibly argue that he would suffer any kind of prejudice as a result
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 1   of what will almost certainly be a brief stay. See Chattanond, 2016 U.S. Dist. LEXIS
 2   24700, at *10 (holding that the ACA International appeal “is not likely to remain
 3   pending for an extended period of time, and the possible prejudice to Plaintiff is
 4   minimal.”).
 5
                   2.     If a Stay is Not Imposed, LeadPoint Will Suffer Harm
 6          In contrast to the lack of harm to Plaintiff from imposing a stay, LeadPoint will
 7   incur actual harm, such as time and expense expended to litigate this case if a stay is
 8   not granted. Here, Plaintiff wishes to certify two classes: an “Autodialed No Consent
 9   Class” premised on violations of 47 U.S.C. § 227(b)(1)(A)(iii) (which requires that
10   Plaintiff prove that an ATDS was used) and a “Do Not Call Registry Class” premised
11   on 47 C.F.R. § 64.1200(d). See Compl. ¶ 34, ECF No. 1. In the event that this case is
12   not stayed, Plaintiff will no doubt pursue discovery with respect to both causes of
13   action and both classes that he is attempting to certify. It makes no sense to move
14   forward with this case and discovery as to both causes of action while a decision in a
15   pending appeal, in which briefing and oral argument have been completed, is
16   expected to clarify the proper definition of an ATDS (a necessary element of
17   Plaintiff’s Section 227(b)(1)(A)(iii) cause of action) and may dispose of half of
18   Plaintiff’s case.
19          Litigation expense is sufficient to demonstrate actual prejudice that justifies a
20   stay. See Chattanond, 2016 U.S. Dist. LEXIS 24700, at *10 (“[H]ardship to
21   Defendant and considerations of judicial economy weigh in favor of a stay. If the
22   case is not stayed, Defendant will suffer hardship in conducting discovery and trial
23   preparation in light of the uncertain difference between ‘potential’ capacity and
24   ‘theoretical’ capacity under the definition of ATDS.”); Mackiewicz, 2015 U.S. Dist.
25   LEXIS 180770, at *3 (granting the defendant’s motion to stay under ACA
26   International in part because “a stay would reduce the burden of litigation on the
27   parties and the Court . . . .”).
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 1                3.     Granting a Stay Will Serve the Orderly Course of Justice by
 2                       Simplifying the Issues
 3         Granting a stay will “serve the orderly course of justice.” See CMAX, 300 F.2d
 4   at 268. In the event that the D.C. Circuit narrows the scope of an ATDS, Plaintiff’s
 5   ATDS-based claim (and class) could be entirely extinguished. This simplification of
 6   the issues in this case is another reason that a stay is warranted. Id.
 7         Plaintiff seeks to hold LeadPoint liable for allegedly calling his cell phone
 8   using an ATDS. See Compl. ¶ 13, ECF No. 1. The TCPA defines an ATDS as
 9   “equipment which has the capacity—(A) to store or produce telephone numbers to be
10   called, using a random or sequential number generator; and (B) to dial such
11   numbers.” 47 U.S.C. 227(a)(1) (emphasis added). Most modern dialers, including
12   LeadPoint’s, do not generate and dial numbers using a “random or sequential number
13   generator.” To clarify the issue, businesses and industry groups filed petitions with
14   the FCC asking whether the word “capacity” meant the “present capacity” of the
15   equipment at the time calls were made – which would absolve LeadPoint from TCPA
16   liability – or whether it meant “future capacity” to generate and dial random or
17   sequential numbers through changes in hardware or software. See RJN, Ex. E (FCC’s
18   Declaratory Ruling) at ¶ 11.
19         The FCC’s response further muddied the waters as the FCC claimed that “the
20   capacity of an autodialer is not limited to its current configuration but also includes
21   its potential functionalities.” Id. at ¶ 16. Under the FCC’s expansive definition, even
22   an iPhone can be an ATDS because the definition of an autodialer, as it currently
23   stands, only requires the ability to download software or install hardware that allows
24   for random or sequential number generation. As the FCC’s new Chairman previously
25   noted, the 2015 Order’s “interpretation [of what qualifies as an ATDS] is a bit of a
26   mess” and transformed the TCPA “from a statutory rifle-shot targeting specific
27   companies . . . into an unpredictable shotgun blast covering virtually all
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 1   communications devices.” Id. at 8075 (Pai C., dissenting). The FCC’s overbroad and
 2   vague definition of what constitutes an ATDS led to the D.C. Circuit appeal in ACA
 3   International.
 4         ACA International now challenges the FCC’s Ruling as arbitrary and
 5   capricious, an abuse of discretion, and as inconsistent with various constitutional
 6   provisions. See RJN, Ex. C. ACA International further argues that the FCC’s
 7   definition of an ATDS, which includes “predictive dialers,” exceeds the FCC’s
 8   statutory authority and goes beyond Congress’s intent under the TCPA. Id. at p. 3;
 9   Ex. D at ¶ 22 n.78. Various other petitioners and intervenors from a number of
10   industry groups and companies also filed briefs in the case arguing that the FCC’s
11   definition of an ATDS is inconsistent with the TCPA’s text, history and purpose as
12   well as being arbitrary and capricious. The analysis of these petitions for review will
13   directly impact Plaintiff’s ATDS-based claim, will inform whether the equipment at
14   issue qualifies as an ATDS, and could extinguish half of this case and the half of the
15   classes Plaintiff is attempting to certify. Until the issue is decided, it makes no sense
16   to proceed with this action.
17   IV.   CONCLUSION
18         In sum, the D.C. Circuit has not clarified the definition of an ATDS. Granting
19   a stay pending the D.C. Circuit’s decision pursuant to the court’s inherent authority
20   is in the interest of judicial economy and will prevent undue hardship on LeadPoint.
21   Briefing and oral argument in the appeal have been completed and a decision is
22   imminent. Thus, LeadPoint respectfully requests that this Court stay this case until
23   the D.C. Circuit issues its decision in ACA International.
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 1   DATED: March 24, 2017            Respectfully submitted,
 2                                    MINTZ LEVIN COHN FERRIS GLOVSKY
 3
                                      AND POPEO P.C.

 4                                    /s/ Esteban Morales
 5                                    By: Joshua Briones
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                                          LEADPOINT, INC.
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